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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                              Criminal No. 04-390(2) (MJD/JGL)


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )      ORDER GRANTING MOTION
               v.                            )      FOR TRAVEL REQUEST
                                             )
Shirley Best Pierce                          )
                                             )
                      Defendant.             )


       Based upon the motion of the defendant, it is hereby Ordered that Shirley Pierce may

travel out of state, to North Carolina and through any states in between . This travel may begin

on December 20, 2005, with a return to Minnesota no later than January 3, 2006.




       Date: December 1, 2005                       s / Michael J. Davis
                                                    Honorable Michael J. Davis
                                                    United States District Court
